Case 2:04-Cv-02389-.]PI\/|-tmp Document 19 Filed 06/06/05 Page 1 of 2 Page|D 40

HLHDSF`N

 

IN THE UNITED STATES DISTRICT coURT
FOR THE wEsTERN DISTRICT oF TENNESSEE QSJUH~S PH 3:59
wEsTERN DIVISION

RGRFRTZE EZTHOUO
CLEFK,LL$.L£§F 01
VUD.OF`N$ MEMPHE

ARTURO AGUIRRE CRUZ, et al.,
Plaintiffs,
vs. Civ. No. 04-2389-M1[P

FORD MOTOR COI\EPAI'~]'Y,r

Defendant.

\._¢-...¢~_¢\_r\_r\..r\\_»'~_r\..r\..z~_¢

 

ORDER DENYING AS MOOT PLAINTIFF'S MOTION TO COMPEL

 

On May 24, 2005, this court ordered the parties to meet and
confer regarding the discovery' disputes raised. in. plaintiff's
motion to compel, which was filed April 21, 2005. By letter dated
June 2, 2005, plaintiff informed the court that the parties have
resolved the issues in the motion to compel, and that the motion to

compel is now moot. On that basis, the motion is DENIED as moot.

»--_-- l
/t/L %“~“*\

TU”M. PHAM
United States Magistrate Judge

.r"°` f
Jwv\ Lc , 3005
Date l

IT IS SO ORDERED.

 

 

comgmnw

Twsdocumsntenmredonthedockstsheehn
with mile 53 and/or 79(@.} wch on §§ j '@$

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:04-CV-02389 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Stephen A. Marcum

STANSBERRY PETROFF MARCUM & BLAKLEY
3 Courthouse Square

Huntsville7 TN 37756

R. Christopher CoWan

THE COWAN LAW FIRM
4144 N. Central EXpressWay
Ste. 370

Dallas, TX 75204

Honorable J on McCalla
US DISTRICT COURT

